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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     :
                                              :
               v.                             :      Criminal No. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant              :

                                             ORDER

       Upon consideration of the Government’s Motion In Limine for Expedited Appointment of

Conflict-Free Counsel and Conflict Inquiry Hearing, it is hereby

       ORDERED, that the motion shall be granted, and that _________________________ shall

be appointed as Conflict Counsel for the defendant; it is further

       ORDERED, that a Conflict Inquiry Hearing shall be scheduled at ________ a.m. / p.m., on

______________, 2024.

Dated this ______ day of January, 2024.


                                      ______________________________________
                                      THE HONORABLE RANDOLPH D. MOSS
                                      UNITED STATES DISTRICT JUDGE
